               Case 3:21-cv-00364-JAG Document 1 Filed 06/07/21 Page 1 of 6 PageID# 1

Pro Se 15 (Rev. 12/16) Complainl for Violation of Civil Rights(Non-Prisoner)



                                       United States District Court
                                                                          for the

                                                                        District of


                                                                               Division



                                                                                      Case No.

                                                                                                   (to be filled in by the Clerk's Office)
                                                     (Ji-i— '-\
                             Plaintiff(s)
(Write thefull name ofeach plaintiff who isfiling this complainl.
Ifthe names ofall the plaintiffs cannot fit in the space above,                       Jury Trial: (check one) □ Yes I Ino
please write "see attached"in the space and attach an additional
page with thefull list ofnames.)
                                 -V-




  FreJ             A C                        AoUf
                            Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with thefull list ofnames. Do not include addresses here.)



                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                          (Non-Prisoner Complaint)


                                                                        NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers fi led with the court should not contain: an individuars fiill social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only, the last four digits of a social security number; the year of an individual's
    birth; a minor s initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed i                     in
    forma pauperis.




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                           : - 7 202!
                                               \yj
              CLERK, U.S. DISTRICT COURT                                                                                                     Page 1 of 6
                       RICHMOND, VA
               Case 3:21-cv-00364-JAG Document 1 Filed 06/07/21 Page 2 of 6 PageID# 2

Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)


I.        The Parties to This Complaint

          A.         The PIaintiff(s)


                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                          Name
                           Address
                                                                         ^(s ^                nj- f)ri
                                                                      /6cr>4<?/rv                                             ^
                                                                                 City "             State             Zip Code
                          County
                          Telephone Number
                          E-Mail Address                                                A   ^ '^sy?cj
          B.         The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known)and check whether you are bringing this complaint against
                    them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                    Defendant No. 1

                          Name
                                                                                                                       c
                          Job or Title (ifknown)
                          Address                                        }0 ^O                  f       Qk r
                                                                        U'" ^                   i/             ^ (i (J J"t.
                                                                                 City               State            Zip Code
                          County
                          Telephone Number
                                                                                    - (c£)
                          E-Mail Address (ifknown)

                                                                     I I Individual capacity ^Wficial capacity
                    Defendant No. 2
                          Name

                          Job or Title (ifknown)
                          Address


                                                                                 City               State            Zip Code
                          County
                          Telephone Number
                          E-Mail Address (ifknown)

                                                                     □ Individual capacity □ Official capacity


                                                                                                                              Page 2 of 6
               Case 3:21-cv-00364-JAG Document 1 Filed 06/07/21 Page 3 of 6 PageID# 3

Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights(Non-Prisoner)


                     Defendant No. 3
                           Name

                          Job or Title (ifknown)
                           Address


                                                                               Citv               State            Zip Code
                          County
                          Telephone Number
                          E-Mail Address (ifknown)

                                                                     I I Individual capacity □ Official capacity
                    Defendant No.4
                          Name

                          Job or Title (ifknown)
                          Address


                                                                               Citv               State            Zip Code
                          County
                          Telephone Number
                          E-Mail Address (ifknown)

                                                                     □ Individual capacity Q Official capacity
II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau ofNarcotics. 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.        Are you bringing suit against (check all that apply):

                    □ Federal officials (a Bivens claim)
                    [^T^ate or local officials (a § 1983 claim)
          B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                    the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                    federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                 Q) FcLy (■ I-                                                         {/c^ Coje          i K 9 ' S~ /


                    Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                    are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                    officials?



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               Case 3:21-cv-00364-JAG Document 1 Filed 06/07/21 Page 4 of 6 PageID# 4

Pro Se 15(Rev. 12/16)Complaint for Violation of Civil Rights(Non-Prisoner)




          D.        Section 1983 allows defendants to be found liable only when they have acted "under color of any
                    statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                    42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                    of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                    federal law. Attach additional pages if needed.




III.     Statement of Claim

        State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
        alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
        further details such as the names ofother persons involved in the events giving rise to your claims. Do not cite
        any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
        statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.         Where did the events giving rise to your claim(s) occur?




        B.          What date and approximate time did the events giving rise to your claim(s) occur?



                        PtL                 ^031 "1:00                       - IO\Oo ^
                    What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                    Was anyone else involved? Who else saw what happened?)


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               Case 3:21-cv-00364-JAG Document 1 Filed 06/07/21 Page 5 of 6 PageID# 5

Pro Se 15(Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)



rv.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.

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        C(          (/ Cry ^<^<3               V ^^




V.       Relief


         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts ofany actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.

                                                       Me                      . J- ^/5c)          Me




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              Case 3:21-cv-00364-JAG Document 1 Filed 06/07/21 Page 6 of 6 PageID# 6

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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge, information,
         and belief that this complaint:(1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and (4)the complaint otherwise complies with the
        requirements of Rule 11.



        A.         For Parties Without an Attorney

                   I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                   served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                   in the dismissal of my case.

                   Date ofsigning:             5^- d 8^J /

                   Signature of Plaintiff
                   Printed Name of Plaintiff


        B.         For Attorneys


                   Date of signing:


                   Signature of Attomey
                   Printed Name of Attomey
                   Bar Number

                   Name of Law Firm

                   Address



                                                                       City               State           Zip Code
                   Telephone Number
                   E-mail Address




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